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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
FORD GLOBAL TECHNOLOGIES, LLC, §
Plaintiff, ;
Vv. Civil Action No. 3:17-CV-3201-N
NEW WORLD INT’L, INC., et al.,
Defendants.

VERDICT OF THE JURY
We, the jury, have answered the above questions as indicated, and now return those

questions and answers to the Court as our verdict.

SIGNED this | ly day of November, 2018.

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PRESIDING JUROR

COURT’S CHARGE — PAGE 20
